      Case 1:15-cv-03336-CCB Document 11 Filed 01/27/16 Page 1 of 3



              UNITED STATES DISTRICT COURT FOR THE
                      DISTRICT OF MARYLAND

RICKEY NELSON JONES      *
                         *
      Plaintiff,         *
                         *
v.                       * Civil Action No.: 15-CV-03336
                         *
ADMINISTRATIVE OFFICE OF *
   THE COURTS, MARYLAND  *
   JUDICIARY             *
                         *
      Defendant.         *
**********************************************

           PLAINTIFF’S MOTION TO AMEND COMPLAINT


      Plaintiff, Rickey Nelson Jones, through undersigned counsel, pursuant to

Fed. R. Civ. Proc. 15(a)(2) and Local Rule 6, moves for leave to amend his

Complaint by adding one Defendant. As grounds therefor, he says:

      1.    To assure all proper defendants are included in this case, Plaintiff

               amends his Complaint to include the Court of Appeals of

               Maryland (naming its representative, Chief Judge M.E. Barbera).

      2.    Because the judicial power of the State of Maryland rests in the

               Court of Appeals, it is necessary to add this defendant to

               eliminate any and all uncertainty.

      3.    Pursuant to Local Rule 6(d), Plaintiff formally sought opposing

               counsel’s consent, and it was not granted.
           Case 1:15-cv-03336-CCB Document 11 Filed 01/27/16 Page 2 of 3



           4.         Plaintiff seeks no other amendments at this time nor has sought any

                           prior to this one.1

           5.         Attached as Exhibits and incorporated herein by reference are {i} a

                           copy of Plaintiff’s original Complaint and {ii} the Amended

                           Complaint with new material underlined pursuant to Local Rule

                           6(c).

           WHEREFORE, Plaintiff respectfully requests that he be granted leave to

amend his Complaint as outlined herein.

                                                                               Respectfully submitted,
                                                                                  /s/ Rickey Nelson Jones
                                                                               Rickey Nelson Jones
                                                                               Law Offices of Reverend Rickey
                                                                                      Nelson Jones, Esquire
                                                                                rd
                                                                               3 Floor – Suite 5
                                                                               1701 Madison Avenue
                                                                               Baltimore, Maryland 21217
                                                                               410-462-5800
                                                                               Bar #: 12088

                                                                               Attorney for Plaintiff




1	  Plaintiff’s	  Response	  to	  Defendants’	  motion	  to	  dismiss	  (or	  for	  summary	  judgment)	  will	  

be	  filed	  on	  or	  before	  the	  deadline	  of	  2/9/16,	  and	  this	  amendment	  is	  being	  filed	  to	  
coincide	  with	  the	  comprehensive	  response	  that	  will	  be	  filed.	  
      Case 1:15-cv-03336-CCB Document 11 Filed 01/27/16 Page 3 of 3



               UNITED STATES DISTRICT COURT FOR THE
                       DISTRICT OF MARYLAND

RICKEY NELSON JONES      *
                         *
      Plaintiff,         *
                         *
v.                       * Civil Action No.: 15-CV-336 CCB
                         *
ADMINISTRATIVE OFFICE OF *
   THE COURTS, MARYLAND  *
   JUDICIARY             *
                         *
      Defendant.         *
**********************************************

                                    ORDER

      Upon consideration of “Plaintiff’s Motion to Amend Complaint,”

it is this __ day of ____________, 2016, by the United States District Court for

the District of Maryland,

      ORDERED that “Plaintiff’s Motion to Amend Complaint” be

GRANTED.

                                             ____________________________
                                             Catherine C. Blake
                                             Chief Judge
                                             United States District Court
